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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

IN RE:                                              §         Case No. 22-60020
                                                    §
INFOW, LLC, et al.,                                 §         Chapter 11 (Subchapter V)
                                                    §
       Debtors1                                     §         Jointly Administered

                       NOTICE OF FILING OF
    WITHDRAWALS OF REMOVAL AND ORDERS REMANDING CASES TO
    SUPERIOR COURT AND CLOSING ADVERSARY PROCEEDINGS IN THE
       UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
                CONNECTICUT, BRIDGEPORT DIVISION

       PLEASE TAKE NOTICE that David Wheeler, Francine Wheeler, Jacqueline

Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee

Soto Parisi, Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William Sherlach,

and Robert Parker (collectively, Connecticut Plaintiffs) are parties to Adv. Pro. No.

22-05004 (JAM), Adv. Pro. No. 22-05005 (JAM), and Adv. Pro. No. 22-05006 (JAM) in

the United States Bankruptcy Court for the District of Connecticut, Bridgeport Division

(the Connecticut Adversary Proceedings).

       PLEASE ALSO TAKE NOTICE that the Defendants in the Connecticut Adversary

Proceedings filed a Withdrawal of Removal [Dkt. 35 in 22-05004; Dkt. 32 in 22-05005,

and Dkt. 30 in 22-05006] on May 31, 2022 (the Withdrawals of Removal) in each of the

Connecticut Adversary Proceedings. The Withdrawals of Removal are attached hereto as

Exhibit A. The Withdrawals of Removal withdraw Defendants’ removal of the action to

the bankruptcy court and the Connecticut Adversary Proceedings. See Exhibit A.


1 The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax
identification number are as follows: InfoW, LLC f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a
Infowars Health, LLC (no EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is
PO Box 1819, Houston, TX 77251-1819.




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No other Defendants filed notices of removal in the Connecticut Adversary Proceedings.

The dockets for each of the Connecticut Adversary Proceedings are attached as

Exhibit B.

       PLEASE TAKE FURTHER NOTICE that the United States Bankruptcy Court for

the District of Connecticut, Bridgeport Division entered an Order Remanding Case to

Superior Court and Closing Adversary Proceeding [Dkt. 37 in 22-05004; Dkt. 34 in

22-05005, and Dkt. 32 in 22-05006] on June 1, 2022 (the Remand Orders) in each of the

Connecticut Adversary Proceedings.        The Remand Orders are attached hereto as

Exhibit C. The Remand Orders remand the Connecticut Adversary Proceedings to the

Superior Court, Judicial District of Fairfield at Bridgeport, and close the Connecticut

Adversary Proceedings.

       The Connecticut Plaintiffs file this Notice to: (i) provide the Court with courtesy

copies of the Withdrawals of Removal, the Dockets, and Remand Orders; and (ii)

respectfully inform the Court that the Connecticut Adversary Proceedings have been

remanded to the Superior Court, Judicial District of Fairfield at Bridgeport and are closed.




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       Respectfully submitted this 10th day of June 2022.


                                                 /s/ Ryan E. Chapple
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                                          Pearland, Texas 77581
                                          281-884-9262
                                          ATTORNEYS FOR
                                          CONNECTICUT PLAINTIFFS

                             CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Notice of Filing has
been served on counsel for Debtors, Debtors, and all parties receiving or entitled to notice
through CM/ECF on this 10th day of June 2022.


                                                /s/ Ryan E. Chapple
                                          Ryan E. Chapple




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